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                                       8                IN THE UNITED STATES DISTRICT COURT
                                       9            FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                           LOUIS “GARRETT” O’HAVER,       )                CASE NO.: 2:20-CV-08047-DSF-
                                      11                                  )                JC
                                      12                   Plaintiffs,    )
                                           vs.                            )                ORDER RE: STIPULATION TO
                                      13
(626) 335-6844 , FAX (213) 232-7111




                                                                          )                REMAND ACTION TO STATE
                                      14                                  )                COURT
        GLENN STERN LAW




                                           GLENN STERN LAW; GLENN
         Glendora, CA 91740
          829 East Route 66




                                      15   STERN; MATTHEW P.              )

                                      16   MALCZYNSKI; and DOES 1 through )
                                           100, Inclusive,                )
                                      17                                  )
                                                           Defendants.    )
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                                                 ORDER RE: STIPULATION TO REMAND ACTION TO LOS ANGELES SUPERIOR COURT
                                       1                                            ORDER
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                                       3        On October 21, 2020, the Parties to the above-referenced action filed a
                                       4 Stipulation to Remand Removed Action. The Court having reviewed that
                                       5 stipulation and good cause appearing, orders as follows:
                                       6        1. The Parties’ stipulation is approved;
                                       7        2. Central District of California case number 2:20-CV-08047-DSF-JC
                                       8 styled LOUIS “GARRETT” O’HAVER v. GLENN STERN LAW, et al. is hereby
                                       9 remanded to Los Angeles County Superior Court.
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                                      11
                                           IT IS SO ORDERED.
                                      12
                                      13 Dated: October 21, 2020
(626) 335-6844 , FAX (213) 232-7111




                                                                                      _______________________________
                                      14                                              UNITED STATES DISTRICT JUDGE
        GLENN STERN LAW

         Glendora, CA 91740
          829 East Route 66




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                                                      ] ORDER RE: STIPULATION TO REMAND ACTION TO LOS ANGELES SUPERIOR COURT 2
